                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Harrisonburg Division


  JOHN DOE 4, by and through his next
  friend, NELSON LOPEZ, on behalf of
  himself and all persons similarly situated,
                                                      CIVIL ACTION
         Plaintiff,

  v.                                                  Case No.: 5:17-cv-00097-EKD

  SHENANDOAH VALLEY JUVENILE
  CENTER COMMISSION,                                  Honorable Elizabeth K. Dillon

         Defendant.

                                 DEFENDANT’S EXHIBIT LIST

         Pursuant to the Court’s Amended Scheduling Order, Defendant Shenandoah Valley

  Juvenile Center Commission (“SVJC”), by counsel, submits the following as exhibits which may

  be introduced at the trial of this case scheduled to commence at 9:30 a.m. on December 17, 2018:

                                            EXHIBITS

         1.      Cooperative Agreement between SVJC and the Office of Refugee Resettlement

                 (“ORR”) dated April 13, 2017.

         2.      SVJC’s standard operating procedures and policies, including, but not limited to:

                 (a)    SVJC’s current and previous behavioral management program (SOPs 3.1,
                        3.1.1, 3.3, 3.4, 3.5, 3.6).
                 (b)    SVJC’s policy prohibiting discrimination (SOP 7.31).
                 (c)    SVJC’s policies regarding the use of force, restraints, and room
                        confinement (SOPs 3.1-3.3, 5.23, 5.23.1, 5.24, 5.24.1, 5.25, 5.25.1).
                 (d)    SVJC’s policies governing the provision of mental health care services to
                        UACs (SOPs 4.9, 4.9.1, 4.10, 4.10.1, 4.10.1s, 4.10.2, 4.10.3, 4.10.4, 4.11,
                        4.11.1).
                 (e)    SVJC’s due process and grievance process (SOPs 3.1.2, 3.16, 3.16.1).
                 (f)    SVJC’s mandatory reporting requirements with respect to allegations of
                        abuse and mistreatment (SOP 3.11).



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        3.    Materials used by SVJC for mandatory training for staff members, including, but

              not limited to:

              (a)    Handle with Care Instructor Manual
              (b)    Presentation entitled “Coping with Crisis”
              (c)    Presentation on Behavior Management Program entitled “Behavior
                     Redevelopment Committee”
              (d)    Presentation entitled “Relationship Skills”
              (e)    Presentation entitled “Trauma Informed Care and Practices in School-
                     Based Settings”
              (f)    Presentation entitled “Preventing Child Maltreatment in ORR/DCS-
                     Funded Care Provider Programs.”
              (g)    Presentation entitled “Child Maltreatment and Working with Special
                     Populations”
              (h)    Presentation entitled “ORR Clinical Training 2018”
              (i)    Presentation entitled “ORR Clinicians at Work”
              (j)    Presentation entitled “SVJC New Staff Training”

        4.    ORR Corrective Action Report dated February 6, 2018.

        5.    Certification Audit Report and Corrective Action Plan to the Virginia Department

              of Juvenile Justice (“DJJ”) dated January 26-27, 2016.

        6.    Certificate of Certification from DJJ dated June 23, 2016.

        7.    Regulations Inquiry and Corrective Action Plan dated March 5, 2018 from DJJ.

        8.    SVJC Self-Audit Report for 2016.

        9.    SVJC Self-Audit Report for 2017.

        10.   PREA Audit Report dated March 2, 2016.

        11.   SVJC’s behavioral incident tracking list.

        12.   SVJC’s UAC census reports and master list.

        13.   Disciplinary files (including, but not limited to, significant incident reports

              (“SIRs”), disciplinary reports, administrative room logs, due process forms, and

              grievance materials) for Plaintiff John Doe 4.

        14.   Surveillance video footage of Plaintiff John Doe 4.


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        15.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, surveillance video footage of former Plaintiffs John Doe 1, 2, and 3.

        16.   Clinical Psychological Referral for Plaintiff John Doe 4 prepared by P. Andrew

              Mayles and dated January 17, 2018.

        17.   Clinical Addendum for Plaintiff John Doe 4 prepared by P. Andrew Mayles and

              dated January 24, 2018.

        18.   Psychological evaluation of Plaintiff John Doe 4 by Dr. Gorin dated February 19,

              2018.

        19.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, psychological evaluation of former Plaintiff John Doe 2 by Dr. Gorin

              dated December 23, 2017.

        20.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, psychological evaluation of former Plaintiff John Doe 1 by Dr. Rife

              dated May 4, 2016.

        21.   Psychiatric records of various dates for Plaintiff John Doe 4 prepared by Dr.

              Kane.

        22.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, psychiatric records of various dates for former Plaintiffs John Doe 1,

              John Doe 2, and John Doe 3 prepared by Dr. Kane.

        23.   Clinical progress notes of various dates for Plaintiff John Doe 4 prepared by

              Philip Mayles.

        24.   Clinical progress notes of various dates for Plaintiff John Doe 4 prepared by

              Evenor Aleman.



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        25.   Clinical progress notes of various dates for Plaintiff John Doe 4 prepared by

              Arelis Espinosa during placement at Children’s Village.

        26.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, clinical progress notes of various dates for former Plaintiffs John Doe 1

              and John Doe 2 prepared by Evenor Aleman.

        27.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, clinical progress notes of various dates for former Plaintiff John Doe 3

              prepared by Melissa Cook.

        28.   Case management notes of various dates for Plaintiff John Doe 4 prepared by

              Elizabeth Ropp.

        29.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, case management notes of various dates for former Plaintiff John Doe 1

              prepared by Elsa Gallardo.

        30.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, case management notes of various dates for former Plaintiffs John Does

              2 and 3 prepared by Emily Twigg.

        31.   Initial Intakes Assessment for Plaintiff John Doe 4 dated December 1, 2017.

        32.   Case Management Intake Assessment for Plaintiff John Doe 4 dated December 4,

              2017.

        33.   ORR Notice of Placement for Plaintiff John Doe 4 dated December 3, 2017.

        34.   Case review and assessments for Plaintiff John Doe 4 of various dates prepared

              by Elizabeth Ropp and Evenor Aleman.




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        35.   MAYSI questionnaire (English and Spanish) completed by Plaintiff John Doe 4

              on December 5, 2017.

        36.   Clinician Referral Results for Plaintiff John Doe 4 signed by P. Andrew Mayles

              and dated December 5, 2017.

        37.   Child Abuse Orientation Guide signed by Plaintiff John Doe 4 on December 5,

              2017.

        38.   Transfer requests for Plaintiff John Doe 4 dated March 23, 2018, May 1, 2018,

              and August 28, 2018.

        39.   Letter from Devereux Advanced Behavioral Health dated September 6, 2018,

              denying transfer request for Plaintiff John Doe 4.

        40.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, intake documents, orientation materials, MAYSI questionnaires and

              results, and transfer requests for former Plaintiffs John Does 1, 2, and 3.

        41.   Referrals to and responses by Child Protective Services (“CPS”) to allegations of

              abuse or mistreatment by Plaintiff John Doe 4 and other class members.

        42.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, referrals to and responses by CPS to allegations of abuse or

              mistreatment by former Plaintiffs John Does 1, 2 and 3.

        43.   Nursing notes of various dates for Plaintiff John Doe 4.

        44.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, nursing notes of various dates for former Plaintiffs John Does 1, 2, and

              3.




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        45.   Virginia Department of Juvenile Justice Report of Findings dated August 13,

              2018.

        46.   SVJC Resident Interview Questions sheet prepared by DJJ and dated June 21,

              2018.

        47.   Email of October 15, 2018, from Sergeant Steven A. Cason with Augusta County

              Sheriff’s Office to Paul McCormick notifying SVJC of disposition of allegations

              of abuse as unfounded.

        48.   Photos of staff injuries following assaults by UAC residents.

        49.   SVJC training records of various dates for Anna Wykes.

        50.   Staff Counseling Notices and related employment documents for Anna Wykes

              dated January 11, 2017, February 19, 2017, and April 6, 2017.

        51.   Deficiency Reports and related employment documents for Anna Wykes dated

              January 17, 2017, February 7, 2017, June 23, 2017, and October 5, 2017.

        52.   Performance Evaluation of Anna Wykes dated February 23, 2017.

        53.   Letter dated October 5, 2017, signed by Anna Wykes resigning her position at

              SVJC in lieu of being terminated.

        54.   Plaintiff John Doe 4’s Interrogatory Answers and Responses to Requests for

              Production.

        55.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, former Plaintiffs John Doe 2 and John Doe 3’s Interrogatory Answers

              and Responses to Requests for Production.

        56.   To the extent Plaintiffs are permitted to present evidence regarding non-class

              members, Defendant may introduce notes, photos, and letters from UACs who



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               have previously resided at SVJC expressing gratitude for services and support

               provided by SVJC staff members.

        57.    Defendant reserves the right to introduce into evidence any SIR report,

               disciplinary report, administrative room log, due process form, grievance, CPS

               notification and/or response, and any video surveillance footage associated with

               any incident presented in support of Plaintiffs’ claims.

        58.    Any exhibit needed for impeachment or rebuttal.

        59.    Any exhibit identified or introduced by Plaintiffs which is not objected to by

               Defendant.

        60.    Defendant reserves the right to rely upon demonstrative aids and to enlarge or

               project any or all portions of any exhibit listed herein.

                                                    Respectfully submitted,
                                              SHENANDOAH VALLEY JUVENILE
                                                   CENTER COMMISSION
                                                         By Counsel


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  Counsel for Shenandoah Valley Juvenile Center Commission




                                          CERTIFICATE

          I certify that on the 12th day of November, 2018, I electronically filed the forgoing

  document with the Clerk of the Court using the CM/ECF system, which will send notification of

  such filing to:


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